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      In The United States Court of Federal Claims
                                          No. 11-294C

                                     (Filed: August 19, 2011)
                                            __________
 NETSTAR-1 GOVERNMENT
 CONSULTING, INC.,

                        Plaintiff,

                           v.

 THE UNITED STATES,

                      Defendant,

         and

 ALON, INC.,

                      Defendant-Intervenor.


                                            _________

                                             ORDER
                                            _________

        On August 10, 2011, defendant filed a notice of corrective action and motion to dismiss
this case under RCFC 12(b)(1). On August 17, 2011, plaintiff filed a response objecting to
defendant’s motion.

        In the court’s view, defendant’s proposed corrective action does not provide plaintiff with
effective relief, but, in fact, appears to be designed to allow defendant to provide a post hoc
rationale for the award decision already made. In the court’s view, true corrective action here
would require, at a minimum, that defendant cancel the award in question. As defendant has not
offered to do this, its motion is hereby DENIED.

       IT IS SO ORDERED.


                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
